                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
__________________________________________
                                             )
PFLAG, INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )   Civil Action No. 8:25-cv-337-BAH
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)

                                      STATUS REPORT

       1. In accordance with this Court’s February 13, 2025 Order, Defendants file this status

           report “apprising the Court of the status of Defendants’ compliance” with the Order,

           and “providing a copy of the written notice” required by the Order. Order at 2, ECF

           No. 61.

       2. On February 13, 2025, counsel for Defendants provided written notice (the “Notice”)

           of the Court’s Order to Defendant U.S. Department of Health and Human Services

           and its subagencies, including, but not limited to, Defendant Health Resources and

           Services Administration, and Defendant National Institutes of Health, as well as

           Defendant National Science Foundation.

       3. A copy of the Notice is attached as Exhibit A. 1




       1
        Counsel for Defendants obtained consent from counsel for Plaintiffs to partially redact
email addresses of agency employees that appear in the Notice.
Dated: February 20, 2025   Respectfully submitted,

                           BRETT A. SHUMATE
                           Principal Deputy Assistant Attorney General

                           MICHELLE BENNETT
                           Assistant Branch Director

                           /s/ Christian S. Daniel
                           VINITA B. ANDRAPALLIYAL
                           CHRISTIAN S. DANIEL
                           Trial Attorneys
                           United States Department of Justice
                           Civil Division, Federal Programs Branch
                           1100 L Street NW
                           Washington, DC 20530
                           Tel.: (202) 305-0845
                           vinita.b.andrapalliyal@usdoj.gov

                           Counsel for Defendants
